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 10   Customs Brokers, Richard G. Fleischer, and
      Jacqueline Fleischer
 11
                                    UNITED STATES DISTRICT COURT
 12
                                  CENTRAL DISTRICT OF CALIFORNIA
 13
 14
      TC RICH, LLC, a California Limited              Case No. 2:19-CV-02123-DMG-AGR
 15   Liability Company, RIFLE FREIGHT,
      INC., a California corporation,                 PLAINTIFFS’ STATEMENT OF
 16   FLEISCHER CUSTOMS BROKERS, a                    GENUINE DISPUTES IN
      sole proprietorship, RICHARD G.                 SUPPORT OF OPPOSITION TO
 17   FLEISCHER, an individual, and                   DEFENDANT SHAIKH’S MOTION
      JACQUELINE FLEISCHER, an                        FOR PARTIAL SUMMARY
 18   individual,                                     JUDGMENT
 19                       Plaintiffs,                 [Filed concurrently with Opposition to
                                                      Shaikh’s Motion for Partial Summary
 20            v.                                     Judgment, Declarations of Mark E.
                                                      Elliott, Vanessa Layne, Suzi Rosen,
 21   HUSSAIN M. SHAIKH, an individual,               and David Chamberlin, and Proposed
      HAROON KHAN, an individual, and                 Order]
 22   SHAH CHEMICAL CORPORATION, a
      California Corporation.                         Courtroom: 8C
 23                                                   Judge: Hon. Dolly M. Gee
                          Defendants.                 Date: February 19, 2021
 24                                                   Time: 3:00 p.m.
 25
 26
 27
 28
                                                -1-
      TC RICH v. Shaikh, et al.                                         PLAINTIFFS’ STATEMENT
                                                                           OF GENUINE DISPUTES
      4823-2123-0809.v2                                          Case No: 2:19-CV-02123-DMG-AGR
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  1            Pursuant to the Federal Rules of Civil Procedure, Rule 56, and Local Rule 56-2,
  2   Plaintiffs TC Rich, LLC (“TC Rich”), Rifle Freight, Inc., Fleischer Customs Brokers,
  3   Richard G. Fleischer, and Jacqueline Fleischer (together, the “Fleischers”)
  4   (collectively “Plaintiffs”) submit this Separate Statement of Genuine Disputes in
  5   Support of their Opposition to Defendant Hussain M. Shaikh’s (“Shaikh”) Motion for
  6   Partial Summary Judgment against Plaintiffs TC Rich and the Fleischers.
  7
  8            ISSUE 1: Partial Summary Judgment cannot be granted as to Shaikh’s thirty-
  9   second affirmative defense, mootness, as to Plaintiffs’ sixth cause of action for
 10   injunctive relief under RCRA § 7002(a)(1)(B).
 11          Shaikh’s Claimed Uncontroverted            Plaintiffs’ Disputed Facts and
              Facts and Supporting Evidence                 Supporting Evidence
 12
          1.     There is no remedy Shaikh could        No actual remediation has been
 13       be ordered to take to reduce or eliminate      performed at the Property, nor has
 14       any risk that is not already being             any removal or other protective
          undertaken by Murex under DTSC                 action been taken to ameliorate or
 15       supervision.                                   otherwise reduce the elevated PCE
 16                                                      indoor air and soil vapor
                                                         concentrations. ECF 61-3 at 16
 17                                                      (Plaintiffs’ Separate Statement of
 18                                                      Uncontroverted Facts in Support
                                                         of Plaintiffs’ Motion for Partial
 19                                                      Summary Judgment (“SSUF”))
 20                                                      87;1 Declaration of Vanessa Layne
                                                         in Support of Plaintiffs’
 21                                                      Opposition (“Layne Decl.”), ¶ 6.
 22
                                                        Despite having been approached
 23                                                      by the agency to do so, neither
                                                         Shaikh nor his companies have
 24
                                                         agreed to enter into a voluntary
 25                                                      Facility Initiated Corrective
 26   1
        All references to “SSUF” herein incorporate by reference Plaintiffs’ Separate
 27   Statement of Uncontroverted Facts (ECF 61-3) in support of Plaintiffs’ Motion for
      Partial Summary Judgment, filed January 22, 2021. Each reference to the SSUF refers
 28   to the numbered fact in the SSUF and corresponding evidence referenced therein.
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      TC RICH v. Shaikh, et al.                                          PLAINTIFFS’ STATEMENT
                                                                            OF GENUINE DISPUTES
      4823-2123-0809.v2                                           Case No: 2:19-CV-02123-DMG-AGR
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  1        Shaikh’s Claimed Uncontroverted            Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                 Supporting Evidence
  2
                                                       Action (“FICA”) with DTSC to
  3                                                    guarantee their performance of the
  4                                                    cleanup, nor has any unilateral
                                                       order been issued by DTSC. ECF
  5                                                    61-3 at 16 (SSUF 88); Layne
  6                                                    Decl., ¶ 7; Declaration of Mark E.
                                                       Elliott in Support of Plaintiffs’
  7                                                    Opposition (“Elliott Decl.”), ¶¶
  8                                                    10-11; Declaration of David
                                                       Chamberlin in Support of
  9                                                    Plaintiffs’ Opposition
 10                                                    (“Chamberlin Decl.”), ¶ 9.

 11          Brown Decl. ¶¶ 31-32 (summary           Murex’s work has been slow-
              of Murex’s work to date), 40-55          paced, has failed to comply
 12
              (detailed review of Murex’s work         consistently with DTSC’s
 13           since 2015), 78-79                       requirements, and has been subject
              (reasonableness of Murex’s work          to critical feedback from DTSC.
 14
              under DTSC supervision), 80              Layne Decl., ¶¶ 4-6.
 15           (“DTSC has been ‘very impressed
              by the work done’, considers the        PCE contamination at the site has
 16                                                    numerous potential exposure
              work performed by Murex ‘a
 17           model as to how investigations at        pathways constituting an
              a contaminated site should be            imminent and substantial
 18                                                    endangerment to health or the
              performed’, and has ‘no concerns’
 19           about the work performed”), 92-          environment. Chamberlin Decl.,
              119 (very unlikely that there are        ¶¶ 3-7. In addition, Brown’s
 20                                                    conclusion that there are no
              any exposure pathways to PCE
 21           contamination at the Site through        exposure pathways is contradicted
              groundwater, soil, or soil vapor);       by his statement that there may be
 22                                                    a risk of dermal exposure during
              121-133 (summary of these
 23           opinions).                               subsurface construction (Brown
                                                       Decl., ¶ 104). The basis for
 24                                                    Brown’s opinion is also
 25                                                    undermined by the invalidity of
                                                       Murex’s 2020 indoor air sampling
 26                                                    results. (See evidentiary
 27                                                    objections.)
 28
                                               -3-
      TC RICH v. Shaikh, et al.                                       PLAINTIFFS’ STATEMENT
                                                                         OF GENUINE DISPUTES
      4823-2123-0809.v2                                        Case No: 2:19-CV-02123-DMG-AGR
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  1        Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                    Supporting Evidence
  2
             ECF No. 22 (“FAC”), at ¶¶ 38                Undisputed, but not material to the
  3            (“Since mid-2015, Shaikh’s                  disputed legal conclusion stated
  4            company, Pacifica Chemical, has             above. Shaikh’s parenthetical
               taken the lead in conducting                reference to Paragraph 39 of the
  5            investigations of the                       FAC misstates the contents of the
  6            contamination at the Property               document and actually contradicts
               under DTSC’s supervision.”), 39             Shaikh’s legal conclusion:
  7            (“Pacifica Chemical has been                “Although Pacifica Chemical has
  8            investigating the contamination             been investigating the
               since 2015 . . . .”).                       contamination since 2015, no
  9                                                        actual remediation has been
 10                                                        performed at the Property, nor has
                                                           any removal or other protective
 11                                                        action been taken to ameliorate or
 12                                                        otherwise reduce the high PCE
                                                           indoor air and soil vapor
 13                                                        concentrations.” (Emphasis
 14                                                        added.)

 15          ECF No. 22-6, at 16-17 (Feb. 26,            Plaintiffs do not dispute that
              2019, Notice of Endangerment                 Murex has conducted
 16
              (“NOE”) letter to Shaikh, stating            investigatory activities at the
 17           Murex has conducted numerous                 Property; however, no actual
              response activities to address the           remedial work has been performed
 18
              VOCs at the Property).                       to date. ECF 61-3 at 16 (SSUF
 19                                                        87); Layne Decl., ¶ 6; Chamberlin
 20                                                        Decl., ¶ 3.

 21          TC Rich v. Pacifica (C.D. Cal. No.          Undisputed, but not relevant. The
              2:15-cv-04878-DMG-AGP) (“TC                  fact that Pacifica Chemical has
 22           Rich v. Pacifica”), ECF No. 103              agreed to undertake some
 23           (Feb. 28, 2019 Further Joint Status          investigatory work to date does
              Report), at 3:6-13 (immediately              not mean Shaikh or Pacifica
 24           prior to filing of the present matter        Chemical will fund complete
 25           against Shaikh, Pacifica was                 remediation of the site conditions
              requesting to perform a Pilot Test           that may constitute an imminent
 26
              despite the lack of a finalized              and substantial endangerment at
 27                                                        the Property. Layne Decl., ¶ 6
 28
                                                   -4-
      TC RICH v. Shaikh, et al.                                           PLAINTIFFS’ STATEMENT
                                                                             OF GENUINE DISPUTES
      4823-2123-0809.v2                                            Case No: 2:19-CV-02123-DMG-AGR
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  1        Shaikh’s Claimed Uncontroverted               Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                    Supporting Evidence
  2
              Facility Initiated Corrective               (remediation to cost $2.9-5M);
  3           Action Agreement with DTSC).                ECF 61-1 at 2.2
  4          TC Rich v. Pacifica, ECF No. 96,          Undisputed, but not relevant. The
  5           at 2:16-3:5 (Oct. 19, 2018 Joint           fact that Pacifica Chemical has
              Status Report, discussing status of        agreed to undertake some
  6           environmental investigation).              investigatory work to date does
  7                                                      not mean Shaikh or Pacifica
                                                         Chemical will fund complete
  8                                                      remediation.
  9
             TC Rich v. Pacifica, ECF No. 89,          Undisputed, but mischaracterizes
 10           at 3:17-4:17 (June 30, 2017                the facts. Pacifica has agreed to
 11           Stipulation to Stay Litigation,            pay up to the limit of this
              discussing Pacifica’s insurer’s            $940,000 of insurance funds for a
 12           agreement to pay $940,000 for              $2.5-5M cleanup. Layne Decl., ¶
 13           Murex to perform remedial                  8; ECF 61-1 at 2. Accordingly,
              activities to complete a Removal           Shaikh could be ordered to or
 14           Action Workplan).                          commit to reducing or eliminating
 15                                                      the risk posed by contamination at
                                                         the Property by completing a full
 16                                                      remediation, as opposed to
 17                                                      $940,000 of a remediation.
 18          Decl. of Kirk M. Tracy in Supp. of        Undisputed that Richard Fleischer
 19           Shaikh’s Mot. For Partial Summ.            and Jacqueline Fleischer were
              J. (“Tracy Decl.”), filed herewith,        deposed as persons most
 20           at ¶ 11 & Ex. 10 (“Plaintiffs’             knowledgeable on behalf of
 21           Depo.”), at 11:10-12:8 (single             Plaintiffs, but this is not relevant
              deposition of Richard Fleischer            to the legal conclusion stated here.
 22           and Jacqueline Fleischer for all           Disputed to the extent Shaikh is
 23           Plaintiffs); 65:16-68:16 (Murex’s          suggesting the Fleischers have
              work at the Property and the lack          personal knowledge as to the
 24           of any identified hazardous                sufficiency Murex’s work or can
 25           conditions)                                testify as to hazardous conditions

 26
 27   2
       See also ECF 98 at 3, a Joint Status Report filed in related case, TC Rich et al. v.
 28   Pacifica et al., No. CV 15-4878 DMG (AGRx)
                                               -5-
      TC RICH v. Shaikh, et al.                                          PLAINTIFFS’ STATEMENT
                                                                            OF GENUINE DISPUTES
      4823-2123-0809.v2                                           Case No: 2:19-CV-02123-DMG-AGR
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  1        Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                      Supporting Evidence
  2
                                                           at the Property. See Fed. R. Evid.
  3                                                        701.
  4          Tracy Decl., Ex. 7, at                      Undisputed that certain work has
  5           interrogatory resp. no. 9 (list of           been performed by Murex to date.
              work performed by Murex).
  6
       2.     There is no evidence of inadequate          See response to Fact 1, supra.
  7    response to the contamination, nor is
  8    there any evidence that DTSC has
       neglected its duties in oversight of the
  9    response actions.
 10    See Fact 1, supra.
 11
 12            ISSUE 2: Partial Summary Judgment cannot be granted as to Shaikh’s first
 13   affirmative defense, failure to state a claim, or Shaikh’s thirty-first affirmative
 14   defense, no imminent and substantial endangerment, as to Plaintiffs’ sixth cause of
 15   action for injunctive relief under RCRA § 7002(a)(1)(B).
 16       Shaikh’s Claimed Uncontroverted                 Plaintiffs’ Disputed Facts and
 17        Facts and Supporting Evidence                       Supporting Evidence
       3.    The hazardous waste                          Disputed. PCE contamination at
 18    contamination at 132 W. 132nd Street                the site currently has numerous
 19    (“Property”) does not “present an                   potential exposure pathways
       imminent and substantial                            constituting an imminent and
 20    endangerment,” nor “may” it.                        substantial endangerment to health
 21          See Fact 1, supra.                           or the environment. Chamberlin
                                                           Decl., ¶¶ 3-7. In addition, Murex’s
 22                                                        work has been slow-paced, has
 23                                                        failed to comply consistently with
                                                           DTSC’s requirements, and has
 24                                                        been subject to critical feedback
 25                                                        from DTSC. Layne Decl., ¶¶ 4-6.
                                                           DTSC itself has stated in official
 26                                                        correspondence, “DTSC has
 27                                                        determined that site conditions
                                                           pose a threat to human health and
 28
                                                   -6-
      TC RICH v. Shaikh, et al.                                            PLAINTIFFS’ STATEMENT
                                                                              OF GENUINE DISPUTES
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  1        Shaikh’s Claimed Uncontroverted            Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                 Supporting Evidence
  2
                                                       the environment.” Chamberlin
  3                                                    Decl., ¶ 3; Declaration of Mark E.
  4                                                    Elliott in Support of Plaintiffs’
                                                       Motion for Partial Summary
  5                                                    Judgment, ¶ 25, Ex. 23.
  6          Brown Decl. ¶¶ 48-49 (work              Disputed. Indoor air samples
              completed or in progress prior to        collected in 2015 were not at
  7
              June 2019), 125 (indoor air              “acceptable levels;” no such
  8           samples beginning in 2015 were at        conclusion can be reached. These
  9           “acceptable levels”), 126-129            sample results are invalid due to
              (effectiveness of Murex’s                the conditions in place at the time
 10           activities prior to and including        of sampling. Layne Decl., ¶ 3. In
 11           2019)                                    addition, this fact is disputed as to
                                                       the “effectiveness” of Murex’s
 12                                                    activities, as no actual remediation
 13                                                    has been performed to date. ECF
                                                       61-3 at 16 (SSUF 87); Layne
 14                                                    Decl., ¶ 6.
 15          ECF No. 22 (“FAC”), at ¶¶ 38            Undisputed that Pacifica
 16           (“Since mid-2015, Shaikh’s               Chemical, through Murex’s work,
              company, Pacifica Chemical, has          has been conducting investigatory
 17           taken the lead in conducting             work at the Property; however,
 18           investigations of the                    disputed that it can be inferred
              contamination at the Property            from this fact that hazardous waste
 19           under DTSC’s supervision.”), 39          at the Property does or may not
 20           (“Pacifica Chemical has been             “present an imminent and
              investigating the contamination          substantial endangerment.”
 21           since 2015 . . . .”).                    Chamberlin Decl., ¶¶ 3-7.
 22          ECF No. 22-6, at 16-17 (Feb. 26,        See above.
 23           2019, Notice of Endangerment
              (“NOE”) letter to Shaikh, stating
 24           Murex has conducted numerous
 25           response activities to address the
              VOCs at the Property).
 26
             TC Rich v. Pacifica (C.D. Cal. No.      Undisputed, but not material to the
 27           2:15-cv-04878-DMG-AGP), ECF              issues in this case. The fact that
              No. 103 (Feb. 28, 2019 Further           Pacifica Chemical has agreed to
 28
                                               -7-
      TC RICH v. Shaikh, et al.                                        PLAINTIFFS’ STATEMENT
                                                                          OF GENUINE DISPUTES
      4823-2123-0809.v2                                         Case No: 2:19-CV-02123-DMG-AGR
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  1        Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                      Supporting Evidence
  2
              Joint Status Report), at 3:6-13              undertake some investigatory
  3           (immediately prior to filing of the          work to date does not mean
              present matter against Shaikh,               Shaikh or Pacifica Chemical will
  4
              Pacifica was requesting to perform           fund complete remediation of the
  5           a Pilot Test despite the lack of a           site conditions that may constitute
  6           finalized Facility Initiated                 an imminent and substantial
              Corrective Action Agreement with             endangerment at the Property.
  7           DTSC).
  8          TC Rich v. Pacifica, ECF No. 96,            See above.
              at 2:16-3:5 (Oct. 19, 2018 Joint
  9
              Status Report, discussing status of
 10           environmental investigation).
 11          TC Rich v. Pacifica, ECF No. 89,            Undisputed, but mischaracterizes
              at 3:17-4:17 (June 30, 2017                  facts. Pacifica has agreed to pay
 12
              Stipulation to Stay Litigation,              up to the limit of this $940,000 of
 13           discussing Pacifica’s insurer’s              insurance funds for a $2.5-5M
              agreement to pay $940,000 for                cleanup. See Layne Decl., ¶ 8;
 14
              Murex to perform remedial                    ECF 61-1 at 2. The fact that
 15           activities to complete a Removal             Pacifica Chemical has agreed to
              Action Workplan).                            undertake some investigatory
 16
                                                           work to date does not mean
 17                                                        Shaikh or Pacifica Chemical will
                                                           fund complete remediation of the
 18
                                                           site conditions that may constitute
 19                                                        an imminent and substantial
 20                                                        endangerment at the Property.
             Tracy Decl., Ex. 7, at                      Undisputed, but not material to the
 21
              interrogatory resp. no. 9 (list of           issues in this case. The fact that
 22           work performed by Murex).                    Pacifica Chemical has agreed to
                                                           undertake some investigatory
 23
                                                           work to date does not mean
 24                                                        Shaikh or Pacifica Chemical will
                                                           fund complete remediation of the
 25
                                                           site conditions that may constitute
 26                                                        an imminent and substantial
 27                                                        endangerment at the Property.

 28
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      TC RICH v. Shaikh, et al.                                           PLAINTIFFS’ STATEMENT
                                                                             OF GENUINE DISPUTES
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  1        Shaikh’s Claimed Uncontroverted              Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                  Supporting Evidence
  2
             Plaintiffs’ Depo., at 65:16-68:16         Disputed. The Fleischers’
  3            (Murex’s work at the Property and         testimony as to the sufficiency of
  4            the lack of any identified                Murex’s work and presence of
               hazardous conditions)                     hazardous conditions is not
  5                                                      “rationally based on the witness’s
  6                                                      perception” and is “not based on
                                                         scientific, technical or other
  7                                                      specialized knowledge.” See Fed.
  8                                                      R. Evid. 701.

  9    4.     There is no evidence of inadequate        See response to Fact 1, supra.
       response to the contamination, nor is
 10    there any evidence that DTSC has
 11    neglected its duties in oversight of the
       response actions.
 12
       See Fact 1, supra.
 13
 14            ISSUE 3: Partial Summary Judgment should not be granted as to Shaikh’s first
 15   cause of action for contribution CERCLA § 113(f)(3)(B).
 16       Shaikh’s Claimed Uncontroverted               Plaintiffs’ Disputed Facts and
 17        Facts and Supporting Evidence                    Supporting Evidence
       5.     The Property constitutes a                Undisputed
 18
       “facility.”
 19          FAC ¶¶ 1-3 (hazardous substance
 20           contamination at and release from
              the Property), 11 (disposal of toxic
 21           or hazardous substances at the
 22           Property), 22 (PCE is a hazardous
              substance currently present in
 23
              groundwater, soil, and soil gas at
 24           the Property).
 25          ECF No. 51 (“Answer to Shaikh’s
              Counterclaim”), at ¶ 10 (admitting
 26           the Property is contaminated with
 27
 28
                                                 -9-
      TC RICH v. Shaikh, et al.                                         PLAINTIFFS’ STATEMENT
                                                                           OF GENUINE DISPUTES
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   1         Shaikh’s Claimed Uncontroverted                  Plaintiffs’ Disputed Facts and
              Facts and Supporting Evidence                       Supporting Evidence
   2
                PCE and other hazardous
   3            substances).
   4          ECF No. 22-6 (NOE), at 12
               (stating there is PCE and other
   5
               contamination at and emanating
   6           from the Property).
   7          ECF No. 22-6 (NOE), at 16
               (discussion of detections of PCE
   8
               at the property in 2015).
   9          Plaintiffs’ Depo., at 28:6-9 (PCE
  10           contamination at the Property).
  11          Brown Decl. ¶¶ 60-61 (evidence
               of PCE released at the Property).
  12
        6.        PCE is a “hazardous substance.”             Undisputed.
  13
              FAC, at ¶¶ 1-3 (hazardous
  14           substance contamination at and
  15           release from the Property), 11
               (disposal of toxic or hazardous
  16           substances at the Property), 22
  17           (PCE is a hazardous substance
               currently present in groundwater,
  18           soil, and soil gas at the Property).
  19          ECF No. 22-6 (NOE), at 13 (PCE
  20           is a “hazardous waste”).
  21          Brown Decl. ¶ 17 (PCE is a
               hazardous substance under
  22           CERCAL).
  23    7.    There was a “release” of PCE at or              Undisputed.
  24    from the 132 W 132nd Street facility.

  25          ECF No. 22 (“FAC”), at ¶¶ 1-3
               (hazardous substance
  26           contamination at and release from
  27           the Property), 11 (disposal of toxic

  28
                                                      -10-
       TC RICH v. Shaikh, et al.                                             PLAINTIFFS’ STATEMENT
                                                                                OF GENUINE DISPUTES
       4823-2123-0809.v2                                              Case No: 2:19-CV-02123-DMG-AGR
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   1        Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                     Supporting Evidence
   2
               or hazardous substances at the
   3           Property).
   4          ECF No. 22-6 (NOE), at 12
               (stating there is PCE and other
   5
               contamination at and emanating
   6           from the Property), 17 (alleging
               discharges of contaminants at the
   7
               Property).
   8
              Brown Decl. ¶¶ 60-61 (evidence
   9           of PCE released at the Property).
  10    8.    The release has caused the                   Undisputed, but not relevant as to
        incurrence of “necessary costs of                   response costs incurred to date,
  11    response” that are “consistent with the             which were not paid for by
  12    [National Contingency Plan (“NCP”)].”               Shaikh. ECF 61-3 at 16 (SSUF
                                                            89).
  13
              Brown Decl. ¶¶ 60-61 (evidence              Disputed that the evidence cited
  14           of PCE released at the Property),            supports the proposition that
  15           ¶¶ 31-32 (summary of Murex’s                 certain costs incurred are
               work to date in response the PCE             consistent with the NCP. Anthony
  16
               at the Property), 82-91 (Murex’s             Brown’s testimony states only that
  17           work is consistent with an NCP-              Murex’s work has been “generally
               compliant response up to this                consistent” with just two elements
  18
               point).                                      of “NCP/CERCLA/HSAA.”
  19
  20    9.    TC Rich is a “liable person” or              Disputed, as TC Rich is subject to
        “responsible party” under CERCLA,                   the Third Party Defense under
  21    because it is the owner of the facility.            CERCLA, 42 U.S.C. § 9607(b)(3).
  22                                                        For supporting facts, see generally
                                                            Declaration of Suzi Rosen in
  23                                                        Support of Plaintiffs’ Opposition
  24                                                        (“Rosen Decl.”), ¶¶ 14-49.

  25          FAC ¶¶ 2, 9 (TC Rich is the                 Undisputed that TC Rich is the
  26           current owner of the Property).              current owner of the Property.
  27          ECF No. 51 (“Answer to Shaikh’s
               Counterclaim”), at ¶ 4 (admitting
  28
                                                   -11-
       TC RICH v. Shaikh, et al.                                           PLAINTIFFS’ STATEMENT
                                                                              OF GENUINE DISPUTES
       4823-2123-0809.v2                                            Case No: 2:19-CV-02123-DMG-AGR
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   1        Shaikh’s Claimed Uncontroverted                  Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                       Supporting Evidence
   2
               TC Rich is the current owner of
   3           the Property) (see ECF No. 46,
               Shaikh’s Counterclaims, at ¶ 4).
   4
        10. Richard Fleischer is a “liable                   Disputed. Richard Fleischer does
   5
        person” or “responsible party” under                  not own or operate any facility at
   6    CERCLA, because he is a current owner                 the Property. ECF 61-3 at 9
        or operator of the facility.                          (SSUF 43). None of the facts
   7
                                                              proffered by Shaikh establish that
   8                                                          Mr. Fleischer is a current owner or
   9                                                          operator, or is otherwise a “liable
                                                              person” or “responsible party”
  10                                                          under CERCLA.
  11          FAC ¶ 9 (Richard Fleischer and                Undisputed, but not material to the
               Jacqueline Fleischer are the only              disputed legal conclusion stated
  12
               members of TC Rich).                           above.
  13
              FAC ¶ 10 (Richard Fleischer and               Disputed to the extent Shaikh
  14           Jacqueline Fleischer own and                   misrepresents Plaintiffs’
               control the other plaintiffs, which            allegations in the FAC or suggests
  15
               are tenants at the Property).                  the Fleischers are liable under
  16                                                          CERCLA.
  17          Answer to Shaikh’s Counterclaim,              Undisputed, but not material to the
               at ¶ 5 (Richard Fleischer is                   disputed legal conclusion stated
  18
               managing member of TC Rich).                   above.
  19          Plaintiffs’ Depo. at 12:14-16,                Disputed to the extent Shaikh
  20           15:23-16:5; 12:21-13:3; 13:15-18;              misrepresents Plaintiffs’
               20:9-12; 13:4-6, 13:19-23; 23:7-               deposition testimony or suggests
  21           19, 24:3-8; 32:16-33:2; 21:9-11;               the Fleischers are liable under
  22           33:6-34:3; 14:4-10, 30:20-33:5;                CERCLA.
               94:5-96:19; 100:4-22, 103:17-20,
  23
               107:7-21 (Fleischers’ various
  24           entities and their control over
               them)
  25
        11. Jacqueline Fleischer is a “liable                Disputed. Jacqueline Fleischer
  26    person” or “responsible party” under                  does not own or operate any
  27                                                          facility at the Property. ECF 61-3
                                                              at 9 (SSUF 43). None of the facts
  28
                                                     -12-
       TC RICH v. Shaikh, et al.                                             PLAINTIFFS’ STATEMENT
                                                                                OF GENUINE DISPUTES
       4823-2123-0809.v2                                              Case No: 2:19-CV-02123-DMG-AGR
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   1      Shaikh’s Claimed Uncontroverted                    Plaintiffs’ Disputed Facts and
           Facts and Supporting Evidence                         Supporting Evidence
   2
        CERCLA, because she is a current                      proffered by Shaikh establish that
   3    owner or operator of the facility.                    Mr. Fleischer is a current owner or
   4                                                          operator, or is otherwise a “liable
                                                              person” or “responsible party”
   5                                                          under CERCLA.
   6          FAC ¶ 9 (Richard Fleischer and                Undisputed, but not material to the
               Jacqueline Fleischer are the only              disputed legal conclusion stated
   7
               members of TC Rich).                           above.
   8
              FAC ¶ 10 (Richard Fleischer and               Disputed to the extent Shaikh
   9           Jacqueline Fleischer own and                   misrepresents Plaintiffs’
               control the other plaintiffs, which            allegations in the FAC or suggests
  10
               are tenants at the Property).                  the Fleischers are liable under
  11                                                          CERCLA.
  12          Answer to Shaikh’s Counterclaim,              Undisputed, but not material to the
               at ¶ 6 (Jacqueline Fleischer is a              disputed legal conclusion stated
  13
               member of TC Rich).                            above.
  14          Brown Decl. ¶ 30 (Richard and                 Undisputed, but not material to the
  15           Jackie Fleischer named as the                  disputed legal conclusion stated
               applicant points of contact on TC              above.
  16
               Rich’s Request for Agency
  17           Oversight Application to DTSC)
  18          Plaintiffs’ Depo. at 12:14-16,                Disputed to the extent Shaikh
               15:23-16:5; 12:21-13:3; 13:15-18;              misrepresents Plaintiffs’
  19           20:9-12; 13:4-6, 13:19-23; 23:7-               deposition testimony or suggests
  20           19, 24:3-8; 32:16-33:2; 21:9-11;               the Fleischers are liable under
               33:6-34:3; 14:4-10, 30:20-33:5;                CERCLA.
  21           94:5-96:19; 100:4-22, 103:17-20,
  22           107:7-21 (Fleischers’ various
               entities and their control over
  23
               them)
  24    12. Shaikh gave notice of its                        Undisputed.
  25    counterclaims to the Attorney General of
        the United States and the Administrator
  26    of the United States Environmental
  27    Protection Agency.
  28
                                                     -13-
       TC RICH v. Shaikh, et al.                                             PLAINTIFFS’ STATEMENT
                                                                                OF GENUINE DISPUTES
       4823-2123-0809.v2                                              Case No: 2:19-CV-02123-DMG-AGR
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   1      Shaikh’s Claimed Uncontroverted                   Plaintiffs’ Disputed Facts and
           Facts and Supporting Evidence                        Supporting Evidence
   2
        Tracy Decl. ¶ 3, Exh. 2.
   3
   4
                ISSUE 4: Partial Summary Judgment should not be granted as to Shaikh’s third
   5
       cause of action for contribution or indemnification under HSAA.
   6
          Shaikh’s Claimed Uncontroverted                   Plaintiffs’ Disputed Facts and
   7        Facts and Supporting Evidence                       Supporting Evidence
   8
        13. The Property constitutes a                      Undisputed.
        “facility.”
   9
        See Fact 5, supra.
  10    14.       PCE is a “hazardous substance.”           Undisputed.
  11    See Fact 6, supra.
  12    15. There was a “release” of PCE at or              Undisputed.
  13    from the 132 W 132nd Street facility.
        See Fact 7, supra.
  14
        16. The release(s) caused the                       Undisputed. See response to Fact
  15
        incurrence of removal or remedial action             8, supra.
  16    (response) costs, in accordance with the
        HSAA or CERCLA.
  17
        See Fact 8, supra.
  18
        17. TC Rich is a “liable person” or                 Disputed. See response to Fact 9,
  19    “responsible party” under the HSAA.                  supra.
  20    See Fact 9, supra.
  21    18. Richard Fleischer is a “liable                  Disputed. See response to Fact 10,
  22    person” or “responsible party” under the             supra.
        HSAA.
  23
        See Fact 10, supra.
  24    19. Jacqueline Fleischer is a “liable               Disputed. See response to Fact 11,
  25    person” or “responsible party” under the             supra.
        HSAA.
  26
        See Fact 11, supra.
  27
  28
                                                    -14-
       TC RICH v. Shaikh, et al.                                            PLAINTIFFS’ STATEMENT
                                                                               OF GENUINE DISPUTES
       4823-2123-0809.v2                                             Case No: 2:19-CV-02123-DMG-AGR
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   1      Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
           Facts and Supporting Evidence                     Supporting Evidence
   2
        20. Shaikh gave DTSC notice of the               Undisputed.
   3    commencement of this action.
   4    Tracy Decl. ¶ 4 & Exh. 3.
   5
   6            ISSUE 5: Partial Summary Judgment should not be granted in favor of Shaikh
   7   as to Counter-Defendants’ Third Party Defense to Shaikh’s CERCLA and HSAA
   8   claims.
   9      Shaikh’s Claimed Uncontroverted                Plaintiffs’ Disputed Facts and
            Facts and Supporting Evidence                    Supporting Evidence
  10
        21. Counter-Defendants cannot prove              Disputed. See, generally, Rosen
  11    they did not have reason to know about            Decl. ¶¶ 14-31, 32-39, 46-49.
        the contamination prior to their
  12
        acquisition of the Property
  13          Brown Decl. ¶¶ 35 (2005 Phase I           See Rosen Decl. ¶¶ 14-31, 32-39,
  14           noted the PCE tank but failed to           46-49.
               identify it as a “recognized
  15           environmental condition (REC)”),
  16           36-38 (2005 Aqua Science
               investigation failed to investigate
  17
               area of the PCE tank as compared
  18           to the more appropriate 2015
               investigations), 67-68 (same).
  19
              Tracy Decl., Ex. 1 (A/E West              Undisputed, but not material to the
  20           2005 Phase I) at Bates number              disputed legal conclusion stated
  21           TCR000016 (re PCE storage and              above. Rosen Decl. ¶¶ 14-31, 32-
               resale), TCR000033 (notice of              39, 46-49.
  22           Pacifica’s use of the former
  23           clarifier and recommendation that
               a closure report be completed).
  24
              Plaintiffs’ Depo. at 50:13-51:11          Misstates testimony as it concerns
  25           (knowledge of Pacifica’s past use          the Fleischers’ investigation of the
  26           of the property), 35:4-37:6, 50:13-        Property. The Fleischers were not
               51:19 (Plaintiffs investigation            asked whether they only did what
  27           limited to what the bank told them         the bank asked. Plaintiff also
  28
                                                 -15-
       TC RICH v. Shaikh, et al.                                         PLAINTIFFS’ STATEMENT
                                                                            OF GENUINE DISPUTES
       4823-2123-0809.v2                                          Case No: 2:19-CV-02123-DMG-AGR
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   1        Shaikh’s Claimed Uncontroverted               Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                    Supporting Evidence
   2
               to do and the corresponding                 testified to physically observing
   3           environmental reports).                     the Property. These citations are
                                                           also immaterial to the disputed
   4
                                                           legal conclusion stated above. See,
   5                                                       generally, Rosen Decl. ¶¶ 14-31,
   6                                                       32-39, 46-49.

   7          Tracy Decl., ¶ 5 & Ex. 4, at               Undisputed, but not material to the
   8           response no. 11 (TC Rich                    disputed legal conclusion stated
               admitted it knew the Property had           above. See, generally, Rosen Decl.
   9           been occupied by a chemical                 ¶¶ 14-31, 32-39, 46-49.
  10           supply company)
  11    22. Counter-Defendants did not                    Disputed. See Rosen Decl. ¶¶ 14-
        perform “all appropriate inquiries”                31, 32-39, 46-49.
  12
              See Fact 21, supra.                        See response to Fact 21.
  13
              Brown Decl. ¶¶ 62-77 (explaining           Disputed. Plaintiffs’ 2005
  14           all the shortcomings of Plaintiffs’         investigation satisfied the “all
  15           2005 investigation and failure,             appropriate inquiries” standard.
               therefore, to satisfy the all               See Rosen Decl. Rosen Decl. ¶¶
  16           appropriate inquiries standard),            14-31, 32-39, 46-49.
  17           120 (same).

  18          Tracy Decl., Ex. 6, at 31:20-23,           Undisputed, but not material to the
               33:15-22, 42:2-22 (Plaintiffs’              disputed legal conclusion stated
  19           lender performed a limited                  above. See Rosen Decl. ¶¶ 14-31,
  20           environmental assessment), 31:20-           32-39, 46-49.
               23, 33:15-22, 42:2-22 (A/E West
  21           was hired by Canada Life and the
  22           loan broker, Dwyer-Curlett, and
               was not working on behalf of
  23           Plaintiffs and in fact did not even
  24           know who TC Rich was).

  25          Tracy Decl., Ex. 1, at Bates               Undisputed, but not material to the
               number TCR0000007 (scope of                 disputed legal conclusion stated
  26           the Phase I report clearly indicates        above. See Rosen Decl. ¶¶ 14-31,
  27           it is only for Dwyer-Curlett),              32-39, 46-49.
               TCR0000034 (“This Report is for
  28
                                                  -16-
       TC RICH v. Shaikh, et al.                                          PLAINTIFFS’ STATEMENT
                                                                             OF GENUINE DISPUTES
       4823-2123-0809.v2                                           Case No: 2:19-CV-02123-DMG-AGR
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   1        Shaikh’s Claimed Uncontroverted               Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                    Supporting Evidence
   2
               the exclusive use of and may be
   3           relied upon by Canada Life
               Insurance Company of America
   4
               and Dwyer-Curlett & Company.”).
   5
              Tracy Decl., Ex. 7, at response no.        Undisputed, but not material to the
   6           1 (all appropriate inquiries by TC          disputed legal conclusion stated
               Rich limited to review of the 2005          above. See Rosen Decl. ¶¶ 14-31,
   7
               A/E West report and the 2005                32-39, 46-49.
   8           Aqua Science Report), Ex. 8, at
               response no. 1 (same for R.
   9
               Fleischer), Ex. 9, at response no. 1
  10           (same for J. Fleischer).
  11          Tracy Decl. ¶ 12 & Ex. 11, at              This citation is to the Deposition
               71:2-72:11. (Aqua Science                   of Kenneth Williams Lederman of
  12
               testified at its deposition that its        A/E West Consultants, Inc.—Not
  13           investigation was not sufficient to         Aqua Science. Additionally, page
               test the property for                       71:2-72:11 of the deposition
  14
               contamination because it failed to          transcript does not state what
  15           test the entire Property and did not        Shaikh claims it does. It does not
               investigate the area that housed a          pertain to Aqua Science’s
  16
               2,000-gallon tank of PCE).                  investigation or failure to
  17                                                       investigate the area that housed
                                                           the PCE storage tank.
  18
              Indeed, Plaintiffs’ own Complaint          Undisputed, but not material to the
  19
               in TC Rich v. Pacifica admits that          disputed legal conclusion stated
  20           A/E West and Aqua Science                   above. See Rosen Decl. ¶¶ 14-31,
               negligently conducted its                   32-39, 46-49.
  21
               investigations. (TC Rich v.
  22           Pacifica, ECF No. 1, at ¶¶ 95–96.)
  23    23. Counter-Defendants failed to                  Disputed. See Rosen Decl. ¶¶ 14-
        exercise “due care” with respect to the            31, 40-45, 46-49.
  24
        contamination.
  25          Tracy Decl. ¶ 6 & Ex. 5, at                Undisputed, but not material to the
  26           response no. 4 (TC Rich’s                   disputed legal conclusion stated
               interrogatory responses claim that          above. See Rosen Decl. ¶¶ 14-31,
  27           by forgoing the use of PCE or               40-45, 46-49.
  28
                                                  -17-
       TC RICH v. Shaikh, et al.                                          PLAINTIFFS’ STATEMENT
                                                                             OF GENUINE DISPUTES
       4823-2123-0809.v2                                           Case No: 2:19-CV-02123-DMG-AGR
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   1        Shaikh’s Claimed Uncontroverted             Plaintiffs’ Disputed Facts and
             Facts and Supporting Evidence                  Supporting Evidence
   2
               other volatile organic compounds,
   3           TC Rich is “taking all preventative
               actions or measures to avoid,
   4
               prevent, reduce, or mitigate known
   5           or foreseeable releases . . . ” as
   6           well as granting Pacifica access to
               conduct environmental
   7           investigations).
   8
   9    Dated: January 29, 2021               RAINES FELDMAN LLP
  10
  11                                    By: /s/ John S. Cha
  12                                                       JOHN S. CHA
  13
  14                                          PILLSBURY WINTHROP SHAW
  15                                          PITTMAN LLP

  16
  17                                    By:            /s/ Mark E. Elliot
                                                           MARK E. ELLIOTT
  18
                                              Attorneys for Plaintiffs
  19                                          TC RICH, LLC, Rifle Freight, Inc.,
  20                                          Fleischer Customs Brokers, Richard G.
                                              Fleischer, and Jacqueline Fleischer
  21
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                                                -18-
       TC RICH v. Shaikh, et al.                                       PLAINTIFFS’ STATEMENT
                                                                          OF GENUINE DISPUTES
       4823-2123-0809.v2                                        Case No: 2:19-CV-02123-DMG-AGR
